     Case 3:22-cv-00294-HTW-LGI           Document 151        Filed 08/11/23     Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

ANGELA RUSSELL, as Administratrix                                                    PLAINTIFF
of the Estate of Jeremy T. Russell, and
on Behalf of the Wrongful Death
Beneficiaries of Jeremy T. Russell

v.                                              CIVIL ACTION NO. 3:22-CV-294-HTW-LGI

MANAGEMENT & TRAINING CORPORATION;
JOHN AND JANE DOE CORRECTIONAL OFFICERS;
VITALCORE HEALTH STRATEGIES, LLC; EVELYN
DUNN; STACEY KITCHES; WILLIAM BRAZIER; and
JOHN AND JANE DOE MEDICAL PROVIDERS                                              DEFENDANTS

                     MANAGEMENT & TRAINING CORPORATION’S
                        MOTION FOR SUMMARY JUDGMENT

          COMES NOW Management & Training Corporation (MTC), Michael McClinton, Marcus

Robinson, and Jacob Vigliante, by and through counsel, and submits its Motion for Summary

Judgment (the Motion) under Federal Rule of Civil Procedure 56 as to all of Plaintiff’s claims in

her Complaint. In support thereof, MTC would show unto the Court the following:

          1.    According to Federal Rule of Civil Procedure 56(a), “the court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Summary judgment is

appropriate in this case because Plaintiff fails “to make a sufficient showing to establish the

existence of an element essential to that party’s case and on which that party will bear the burden

of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

          2.    For the reasons detailed in MTC’s Memorandum in Support of its Motion filed

contemporaneously herein, Plaintiff’s claims cannot survive summary judgment, and dismissal is

proper.
Case 3:22-cv-00294-HTW-LGI        Document 151       Filed 08/11/23      Page 2 of 4




  3.    MTC relies on and incorporates the following exhibits in support of its Motion:

        Exhibit 1:    Excerpts from Deposition of Defendant Evelyn Dunn

        Exhibit 2:    Defendant’s Expert Report

        Exhibit 3:    Excerpts from Deposition of Anthony Gibson

        Exhibit 4:    MTC’s Day Shift Rosters (Sept. 28, 2021 – Oct. 7, 2021)

        Exhibit 5:    Second Amended Complaint

        Exhibit 6:    Affidavit of EMCF Warden Donald Jackson

        Exhibit 7:    Unsigned Affidavit of Karei McDonald

        Exhibit 8:    Residential Services Agreement Between Mississippi Department
                      of Corrections [MDOC] and East Mississippi Correctional Facility
                      Authority [EMCF Authority]

        Exhibit 9:    Management and Operations Agreement Between EMCF Authority
                      and MTC

        Exhibit 10:   Records Affidavit of Cindy Freeman and MDOC and VitalCore
                      Health Strategies, LLC Contract

        Exhibit 11:   Excerpts from Rule 30(b)(6) Deposition of Defendant MTC

        Exhibit 12:   Excerpts from Deposition of Defendant Jacob Vigliante

        Exhibit 13    Excerpts from Deposition of Roxie Wallace

        Exhibit 14    Excerpts from Deposition of Major Michael McClinton

        Exhibit 15    Sept. 29, 2021 MDOC Lab Report

        Exhibit 16    Oct. 27, 2021 Toxicology Report

        Exhibit 17    Excerpts from Deposition of Angela Russell

        Exhibit 18    Plaintiff’s Responses to First Set of Requests for Admissions

        Exhibit 19    Excerpts from Deposition of Dr. Mark Webb

        Exhibit 20    EMCF Facility Policies and Procedures



                                        2
    Case 3:22-cv-00294-HTW-LGI            Document 151        Filed 08/11/23      Page 3 of 4




               Exhibit 21     EMCF Post Orders

               Exhibit 22     Photograph of Camp Support

               Exhibit 23     Excerpts from Deposition of Dr. Patrick Arnold

       WHEREFORE, PREMISES CONSIDERED, Defendant Management & Training

Corporation respectfully requests that this Court enter an order granting summary judgment in its

favor on all of Plaintiff’s claims and Complaint, dismissing this case with prejudice. Defendant

also seeks any and all other and further relief as the Court deems appropriate.

       Respectfully submitted, this the 11th day of August, 2023.

                                                     MANAGEMENT & TRAINING
                                                     CORPORATION

                                             By:    /s/ Mary Clark Joyner
                                                    R. Jarrad Garner (MSB# 99584)
                                                    Mary Clark Joyner (MSB# 105954)
                                                    ADAMS AND REESE, LLP
                                                    1018 Highland Colony Parkway, Suite 800
                                                    Ridgeland, Mississippi 39157
                                                    Office: (601) 353-3234
                                                    Fax: (601) 355-9708
                                                    jarrad.garner@arlaw.com
                                                    maryclark.joyner@arlaw.com
                                             Attorneys for Management & Training Corporation




                                                 3
    Case 3:22-cv-00294-HTW-LGI           Document 151        Filed 08/11/23      Page 4 of 4




                                CERTIFICATE OF SERVICE

       I do hereby certify that I have, this day, filed the foregoing with the Clerk of Court using

the ECF filing system, which has caused a true and correct copy to be served by electronic mail

on all counsel of record.

       Dated: August 11, 2023.

                                                    /s/ Mary Clark Joyner




                                                4
